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                                      United States District Court
                                                   for the
                                        Western District Of Tennessee

                                  Report on Offender Under Supervision
 Name of Offender: Robert Phillips                         Case Number: 2:03CR20485-6
 Name of Sentencing Judicial Officer: Honorable Samuel H. Mays, Jr.

 Date of Original Sentence: 3/28/2006                      Type of Supervision: Supervised Release
 Original Offense: Interference with Commerce by           Date Supervision Commenced: 11/10/2010
 Threats or Violence; Use & Carry of Firearm
 (Discharge) during & in relation to a Crime of Violence
 Original Sentence: Prison - 95 Months                     Date Supervision Expires: 11/09/2013
                    TSR - 36 Months

                                   NONCOMPLIANCE SUMMARY
The offender has not complied with the following condition(s) of supervision:
Nature of Noncompliance - The defendant shall pay restitution, joint and several, in the amount of $107,241.29
(balance: $104,195.29). Mr. Phillps has made consistent monthly restitution payments to the best of his ability,
however, he will not satisfy the outstanding balance prior to the expiration of Supervised Release. He has signed
a payment agreement with the U.S. Attorney Financial Litigation Unit indicating his willingness to continue
payments at a monthly rate of $25.00.


U.S. Probation Officer Action: It is recommended that Mr. Phillips’ Supervised Release be allowed to terminate
as scheduled on November 9, 2013, with the understanding that the U.S. Attorney’s Office will be responsible for the
continued collection of restitution.

                                                                            Respectfully submitted,
                                                                     by     s/Tornika Brooks
                                                                            U.S. Probation Officer
                                                                            Date: September 26, 2013

 [X]     Court Concurs with Officer Recommendation
 [ ]     Submit a Request for Modifying the Condition or Term of Supervision
 [ ]     Submit a Request for Warrant or Summons
 [ ]     Other
                                                                                s/ Samuel H. Mays, Jr.
                                                                            Signature of Judicial Officer
                                                                                   September 30, 2013
                                                                            Date
